Case 24-13181-hlb   Doc 69-2   Entered 09/23/24 15:42:43   Page 1 of 4




            EXHIBIT 2




            EXHIBIT 2
                                 Case 24-13181-hlb                                              Doc 69-2                      Entered 09/23/24 15:42:43                                                       Page 2 of 4




Varaluz, LLC - 3 Year Net Projected Income


                                     Jan-25             Feb-25         Mar-25                       Apr-25         May-25         Jun-25                       Jul-25          Aug-25         Sep-25                         Oct-25         Nov-25         Dec-25

Income Collected
  Payments Collected             $    275,000 $ 275,000 $ 300,000                               $ 300,000 $         300,000 $      300,000                 $    325,000 $       325,000 $      325,000                   $    325,000 $      325,000 $      240,000
  Held Collections Recovered                 0         0         0                                       0                 0              0                            0               0              0                              0              0              0
Total Monies Collected           $    275,000 $ 275,000 $ 300,000                               $ 300,000 $         300,000 $      300,000                 $    325,000 $       325,000 $      325,000                   $    325,000 $      325,000 $      240,000

Expenses Paid Total
 Payroll                         $     67,500       $     67,500 $       67,500                 $     67,500   $     67,500   $     67,500                 $     67,500    $     67,500   $     67,500                   $     67,500 $       67,500   $     67,500
 LV Warehouse Rent               $     26,800       $     26,800 $       26,800                 $     26,800   $     26,800   $     26,800                 $     26,800    $     26,800   $     26,800                   $     26,800 $       26,800   $     26,800
 Dal Showroom Rent               $     11,000       $     11,000 $       11,000                 $     11,000   $     11,000   $     11,000                 $     11,000    $     11,000   $     11,000                   $     11,000 $       11,000   $     11,000
 LV Showroom Rent                $      2,500       $      2,500 $        2,500                 $      2,500   $      2,500   $      2,500                 $      2,500    $      2,500   $      2,500                   $      2,500 $        2,500   $      2,500
 HP Showroon Rent                $      7,500       $      7,500 $        7,500                 $      7,500   $      7,500   $      7,500                 $      7,500    $      7,500   $      7,500                   $      7,500 $        7,500   $      7,500
 Showroom Rent Sublet                                            $      (40,000)                                                                                                                                         $    (40,000)
 NV & County Taxes, Qtrly        $      4,000 $              -   $          -                   $      4,000 $          -   $        4,000                 $        -   $           -   $        4,000                   $        -    $         -   $          -
 Healthplan                      $      7,200 $            7,200 $        7,200                 $      7,200 $        7,200 $        7,200                 $      7,200 $         7,200 $        7,200                   $      7,200 $        7,200 $        7,200
 Dal Show                        $     17,500 $            5,000 $          -                   $        -   $          -   $       20,000                 $      5,000 $           -   $          -                     $        -    $         -   $       10,000
 HP Show                                                                                        $     15,000                                                                                                             $     15,000
 LV Show                         $      2,500                                                                                                              $      3,000
 FedEx                           $     17,000       $     17,000   $     18,000                 $  18,000      $     18,000   $     18,000                 $     20,000    $     20,000   $     20,000                   $     20,000   $     20,000   $     15,000
 FedEx Frt                       $     17,000       $     17,000   $     18,000                 $  18,000      $     18,000   $     18,000                 $     20,000    $     20,000   $     20,000                   $     20,000   $     20,000   $     15,000
 Bank Card Fees                  $      6,100       $      6,100   $      6,600                 $   6,600      $      6,600   $      6,600                 $      7,200    $      7,200   $      7,200                   $      7,200   $      7,200   $      5,300
 Bank Fees                       $        700       $        700   $        800                 $     800      $        800   $        800                 $        800    $        800   $        800                   $        800   $        800   $        600
 Insurance                       $      4,000       $      4,000   $      4,000                 $   4,000      $      4,000   $      4,000                 $      4,000    $      4,000   $      4,000                   $      4,000   $      4,000   $      4,000
 NetSuites                       $        -         $        -     $     18,000                 $     -        $        -     $        -                   $        -      $     18,000   $        -                     $        -     $        -     $     18,000
 Utilities                       $      1,200       $      1,200   $      1,200                 $   1,200      $      1,200   $      1,200                 $      1,200    $      1,200   $      1,200                   $      1,200   $      1,200   $      1,200
 Sales & Marketing               $      9,000       $      9,000   $      9,000                 $   9,000      $      9,000   $      9,000                 $      9,000    $      9,000   $      9,000                   $      9,000   $      9,000   $      9,000
 Discounts                       $     15,000       $     15,000   $     15,000                 $  15,000      $     15,000   $     15,000                 $     15,000    $     15,000   $     15,000                   $     15,000   $     15,000   $     15,000
 Seredipity                      $      6,000       $      6,000   $      6,000                 $   6,000      $      6,000   $      6,000                 $      6,000    $      6,000   $      6,000                   $      6,000   $      6,000   $      6,000
 Smithsonian Royalty             $     12,000                                                   $  12,000                     $     12,000                                                $     12,000
 Design Fees                     $        900       $     900      $     900                    $     900      $        900   $        900                 $      1,000    $      1,000   $      1,000                   $      1,000   $      1,000   $        800
 Commissions                     $     10,000       $  10,000      $  11,000                    $  11,000      $     11,000   $     11,000                 $     12,000    $     12,000   $     12,000                   $     12,000   $     12,000   $      9,000
 MTS Ctnr Frt & Duties           $     11,000       $  11,000      $  12,000                    $  12,000      $     12,000   $     12,000                 $     13,000    $     13,000   $     13,000                   $     13,000   $     13,000   $     10,000
 MySAMM                          $      2,500       $   2,500      $   2,500                    $   2,500      $      2,500   $      2,500                 $      2,500    $      2,500   $      2,500                   $      2,500   $      2,500   $      2,500
 Packaging & Production Mtrls    $        500       $     500      $     500                    $     500      $        500   $        500                 $        500    $        500   $        500                   $        500   $        500   $        500
 Misc                            $     12,000       $  12,000      $  12,000                    $  12,000      $     12,000   $     12,000                 $     12,000    $     12,000   $     12,000                   $     12,000   $     12,000   $     12,000
Expenses Paid Total              $    230,690       $ 204,340      $ 185,300                    $ 230,350      $    204,000   $    234,600                 $    216,495    $    224,995   $    223,295                   $    188,445   $    209,695   $    217,940

Inventory Purchased              $     52,250 $           52,250 $       57,000                 $     57,000 $       57,000 $       57,000                 $     61,750 $        61,750 $       61,750                   $     61,750 $       61,750 $       45,600

Total Expenses                   $    282,940 $ 256,590 $ 242,300                               $ 287,350 $         261,000 $      291,600                 $    278,245 $       286,745 $      285,045                   $    250,195 $      271,445 $      263,540

Monthly Net Income               $      (7,940) $         18,410 $       57,700                 $     12,650 $       39,000 $        8,400                 $     46,755 $        38,255 $       39,955                   $     74,805 $       53,555 $      (23,540)
Quarterly Net Income                                                               $   68,170                                                 $   60,050                                                  $    124,965


Plan Payments Over 3 Years

Administrative ExpenseClaims                                            $10,000                                                     $10,000                                                     $25,000                                                      $25,000
Secured Claim (SBA)                          $750           $750           $750                         $750           $750            $750                         $750           $750            $750                          $750           $750            $750
Cure Claims                                                             $25,000                                                     $25,000                                                     $35,000                                                      $35,000
Priority Unsecured Claims                                               $10,000                                                     $10,000                                                     $20,000                                                      $10,000
Unsecured Claims                                                        $20,920                                                     $12,800                                                     $42,715                                                      $32,570
Total Payments                                                          $68,170                                                     $60,050                                                    $124,965                                                     $104,820
                                 Case 24-13181-hlb                                          Doc 69-2                       Entered 09/23/24 15:42:43                                                   Page 3 of 4




                  Jan-26         Feb-26         Mar-26                       Apr-26         May-26         Jun-26                       Jul-26          Aug-26         Sep-26                        Oct-26         Nov-26         Dec-26



              $    275,000 $ 300,000 $ 300,000                           $ 325,000 $         325,000 $      350,000                 $    350,000 $       350,000 $      375,000                  $    375,000 $      375,000 $      250,000
                          0         0         0                                   0                 0              0                            0               0              0                             0              0              0
              $    275,000 $ 300,000 $ 300,000                           $ 325,000 $         325,000 $      350,000                 $    350,000 $       350,000 $      375,000                  $    375,000 $      375,000 $      250,000



              $     67,500   $     67,500 $       67,500                 $     67,500   $     67,500   $     67,500                 $     67,500    $     67,500   $     67,500                  $     67,500 $       67,500   $     67,500
              $     28,000   $     28,000 $       28,000                 $     28,000   $     28,000   $     28,000                 $     28,000    $     28,000   $     28,000                  $     28,000 $       28,000   $     28,000
              $     12,500   $     12,500 $       12,500                 $     12,500   $     12,500   $     12,500                 $     12,500    $     12,500   $     12,500                  $     12,500 $       12,500   $     12,500
              $      5,500   $      5,500 $        5,500                 $      5,500   $      5,500   $      5,500                 $      5,500    $      5,500   $      5,500                  $      5,500 $        5,500   $      5,500
              $     16,000   $     16,000 $       16,000                 $     16,000   $     16,000   $     16,000                 $     16,000    $     16,000   $     16,000                  $     16,000 $       16,000   $     16,000
                                          $      (40,000)                                                                                                                                        $    (40,000)
              $      4,000 $          -   $          -                   $      4,000 $          -   $        4,000                 $        -   $           -   $        4,000                  $        -    $         -   $          -
              $      7,200 $        7,200 $        7,200                 $      7,200 $        7,200 $        7,200                 $      7,200 $         7,200 $        7,200                  $      7,200 $        7,200 $        7,200
              $     20,000 $        5,000 $          -                   $        -   $          -   $       20,000                 $      5,000 $           -   $          -                    $        -    $         -   $       10,000
                                                                         $     20,000                                                                                                            $     20,000
              $      5,000                                                                                                          $      5,000
              $     17,000   $     18,000   $     18,000                 $  20,000      $     20,000   $     21,000                 $     21,000    $     21,000   $     23,000                  $     23,000   $     23,000   $     15,000
              $     17,000   $     18,000   $     18,000                 $  20,000      $     20,000   $     21,000                 $     21,000    $     21,000   $     23,000                  $     23,000   $     23,000   $     15,000
              $      6,100   $      6,600   $      6,600                 $   7,200      $      7,200   $      7,700                 $      7,700    $      7,700   $      8,300                  $      8,300   $      8,300   $      5,500
              $        700   $        800   $        800                 $     800      $        800   $        900                 $        900    $        900   $        900                  $        900   $        900   $        600
              $      4,000   $      4,000   $      4,000                 $   4,000      $      4,000   $      4,000                 $      4,000    $      4,000   $      4,000                  $      4,000   $      4,000   $      4,000
              $        -     $        -     $     18,000                 $     -        $        -     $        -                   $        -      $     18,000   $        -                    $        -     $        -     $     18,000
              $      1,200   $      1,200   $      1,200                 $   1,200      $      1,200   $      1,200                 $      1,200    $      1,200   $      1,200                  $      1,200   $      1,200   $      1,200
              $      9,000   $      9,000   $      9,000                 $   9,000      $      9,000   $      9,000                 $      9,000    $      9,000   $      9,000                  $      9,000   $      9,000   $      9,000
              $     15,000   $     15,000   $     15,000                 $  15,000      $     15,000   $     15,000                 $     15,000    $     15,000   $     15,000                  $     15,000   $     15,000   $     15,000
              $      6,000   $      6,000   $      6,000                 $   6,000      $      6,000   $      6,000                 $      6,000    $      6,000   $      6,000                  $      6,000   $      6,000   $      6,000
              $     12,000                                               $  12,000                     $     12,000                                                $     12,000
              $        900   $     900      $     900                    $   1,000      $      1,000   $      1,100                 $      1,100    $      1,100   $      1,200                  $      1,200   $      1,200   $        800
              $     10,000   $  11,000      $  11,000                    $  12,000      $     12,000   $     13,000                 $     13,000    $     13,000   $     14,000                  $     14,000   $     14,000   $      9,000
              $     11,000   $  12,000      $  12,000                    $  13,000      $     13,000   $     14,000                 $     14,000    $     14,000   $     15,000                  $     15,000   $     15,000   $     10,000
              $      2,500   $   2,500      $   2,500                    $   2,500      $      2,500   $      2,500                 $      2,500    $      2,500   $      2,500                  $      2,500   $      2,500   $      2,500
              $        500   $     500      $     500                    $     500      $        500   $        500                 $        500    $        500   $        500                  $        500   $        500   $        500
              $     12,000   $  12,000      $  12,000                    $  12,000      $     12,000   $     12,000                 $     12,000    $     12,000   $     12,000                  $     12,000   $     12,000   $     12,000
              $    247,010   $ 220,320      $ 197,370                    $ 252,365      $    221,765   $    256,360                 $    234,260    $    241,060   $    245,055                  $    214,455   $    231,455   $    230,180

              $     52,250 $       57,000 $       57,000                 $     61,750 $       61,750 $       66,500                 $     66,500 $        66,500 $       71,250                  $     71,250 $       71,250 $       47,500

              $    299,260 $ 277,320 $ 254,370                           $ 314,115 $         283,515 $      322,860                 $    300,760 $       307,560 $      316,305                  $    285,705 $      302,705 $      277,680

              $    (24,260) $      22,680 $       45,630                 $     10,885 $       41,485 $       27,140                 $     49,240 $        42,440 $       58,695                  $     89,295 $       72,295 $      (27,680)
$   104,820                                                 $   44,050                                                 $   79,510                                                  $   150,375                                                 $   133,910




                                                      $0                                                     $25,000                                                     $30,000
                      $750           $750           $750                         $750           $750            $750                         $750           $750            $750                         $750           $750           $750
                                                 $30,000                                                     $25,000
                                                 $11,800                                                          $0                                                     $40,000                                                     $40,000
                                                      $0                                                     $27,260                                                     $78,125                                                     $91,660
                                                 $44,050                                                     $79,510                                                    $150,375                                                    $133,910
                                   Case 24-13181-hlb                                        Doc 69-2                      Entered 09/23/24 15:42:43                                                     Page 4 of 4




    Jan-27         Feb-27         Mar-27                      Apr-27         May-27         Jun-27                        Jul-27          Aug-27         Sep-27                        Oct-27         Nov-27         Dec-27



$    325,000 $ 325,000 $ 350,000                          $ 350,000 $         350,000 $      400,000                  $    400,000 $       400,000 $      400,000                  $    400,000 $      350,000 $      270,000
            0         0         0                                  0                 0              0                             0               0              0                             0              0              0
$    325,000 $ 325,000 $ 350,000                          $ 350,000 $         350,000 $      400,000                  $    400,000 $       400,000 $      400,000                  $    400,000 $      350,000 $      270,000



$     67,500   $     67,500 $       67,500                $     67,500   $     67,500   $     67,500                  $     67,500    $     67,500   $     67,500                  $     67,500 $       67,500   $     67,500
$     30,000   $     30,000 $       30,000                $     30,000   $     30,000   $     30,000                  $     30,000    $     30,000   $     30,000                  $     30,000 $       30,000   $     30,000
$     13,250   $     13,250 $       13,250                $     13,250   $     13,250   $     13,250                  $     13,250    $     13,250   $     13,250                  $     13,250 $       13,250   $     13,250
$      6,000   $      6,000 $        6,000                $      6,000   $      6,000   $      6,000                  $      6,000    $      6,000   $      6,000                  $      6,000 $        6,000   $      6,000
$     17,000   $     17,000 $       17,000                $     17,000   $     17,000   $     17,000                  $     17,000    $     17,000   $     17,000                  $     17,000 $       17,000   $     17,000
                            $      (40,000)                                                                                                                                        $    (40,000)
$      4,000 $          -   $          -                  $      4,000 $          -   $        4,000                  $        -   $           -   $        4,000                  $        -    $         -   $          -
$      7,200 $        7,200 $        7,200                $      7,200 $        7,200 $        7,200                  $      7,200 $         7,200 $        7,200                  $      7,200 $        7,200 $        7,200
$     20,000 $        5,000 $          -                  $        -   $          -   $       20,000                  $      5,000 $           -   $          -                    $        -    $         -   $       10,000
                                                          $     20,000                                                                                                             $     20,000
$      5,000                                                                                                          $      5,000
$     20,000   $     20,000   $     21,000                $  21,000      $     21,000   $     24,000                  $     24,000    $     24,000   $     24,000                  $     24,000   $     21,000   $     17,000
$     20,000   $     20,000   $     21,000                $  21,000      $     21,000   $     24,000                  $     24,000    $     24,000   $     24,000                  $     24,000   $     21,000   $     17,000
$      7,200   $      7,200   $      7,700                $   7,700      $      7,700   $      8,800                  $      8,800    $      8,800   $      8,800                  $      8,800   $      7,700   $      6,000
$        800   $        800   $        900                $     900      $        900   $      1,000                  $      1,000    $      1,000   $      1,000                  $      1,000   $        900   $        700
$      4,000   $      4,000   $      4,000                $   4,000      $      4,000   $      4,000                  $      4,000    $      4,000   $      4,000                  $      4,000   $      4,000   $      4,000
$        -     $        -     $     18,000                $     -        $        -     $        -                    $        -      $     18,000   $        -                    $        -     $        -     $     18,000
$      1,200   $      1,200   $      1,200                $   1,200      $      1,200   $      1,200                  $      1,200    $      1,200   $      1,200                  $      1,200   $      1,200   $      1,200
$      9,000   $      9,000   $      9,000                $   9,000      $      9,000   $      9,000                  $      9,000    $      9,000   $      9,000                  $      9,000   $      9,000   $      9,000
$     15,000   $     15,000   $     15,000                $  15,000      $     15,000   $     15,000                  $     15,000    $     15,000   $     15,000                  $     15,000   $     15,000   $     15,000
$      6,000   $      6,000   $      6,000                $   6,000      $      6,000   $      6,000                  $      6,000    $      6,000   $      6,000                  $      6,000   $      6,000   $      6,000
$     12,000                                              $  12,000                     $     12,000                                                 $     12,000
$      1,000   $   1,000      $   1,100                   $   1,100      $      1,100   $      1,200                  $      1,200    $      1,200   $      1,200                  $      1,200   $      1,100   $        900
$     12,000   $  12,000      $  13,000                   $  13,000      $     13,000   $     14,000                  $     14,000    $     14,000   $     14,000                  $     14,000   $     13,000   $     10,000
$     13,000   $  13,000      $  14,000                   $  14,000      $     14,000   $     16,000                  $     16,000    $     16,000   $     16,000                  $     16,000   $     14,000   $     11,000
$      2,500   $   2,500      $   2,500                   $   2,500      $      2,500   $      2,500                  $      2,500    $      2,500   $      2,500                  $      2,500   $      2,500   $      2,500
$        500   $     500      $     500                   $     500      $        500   $        500                  $        500    $        500   $        500                  $        500   $        500   $        500
$     12,000   $  12,000      $  12,000                   $  12,000      $     12,000   $     12,000                  $     12,000    $     12,000   $     12,000                  $     12,000   $     12,000   $     12,000
$    260,228   $ 229,628      $ 210,673                   $ 259,973      $    229,373   $    268,728                  $    246,628    $    253,428   $    251,728                  $    260,150   $    269,850   $    281,750

$     61,750 $       61,750 $       66,500                $     66,500 $       66,500 $       76,000                  $     76,000 $        76,000 $       76,000                  $     76,000 $       66,500 $       51,300

$    321,978 $ 291,378 $ 277,173                          $ 326,473 $         295,873 $      344,728                  $    322,628 $       329,428 $      327,728                  $    336,150 $      336,350 $      333,050

$      3,023 $       33,623 $       72,828                $     23,528 $       54,128 $       55,273                  $     77,373 $        70,573 $       72,273                  $     63,850 $       13,650 $      (63,050)
                                              $ 109,473                                                 $   132,928                                                  $   220,218                                                 $   14,450 $ 1,242,918




                                                                                                                                                                                                                                                $125,000
        $750           $750           $750                        $750           $750           $750                           $750           $750           $750                          $750           $750           $750                    $27,000
                                                                                                                                                                                                                                                $175,000
                                   $20,200                                                   $20,000                                                                                                                                            $182,000
                                   $87,023                                                  $110,678                                                      $217,968                                                     $12,200                  $733,919
                                  $109,473                                                  $132,928                                                      $220,218                                                     $14,450                $1,242,919
